Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 1 of 28            FILED
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Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 3 of 28
                         DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 4 of 28
                         DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 5 of 28
                         DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 6 of 28
                         DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 7 of 28
                         DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 8 of 28
                         DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 9 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 10 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 11 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 12 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 13 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 14 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 15 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 16 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 17 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 18 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 19 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 20 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 21 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 22 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 23 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 24 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 25 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 26 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 27 of 28
                          DOCUMENT 886
Case 1:23-cv-01367-RDP Document 72-1 Filed 01/12/24 Page 28 of 28
